               Case: 1:25-cv-01468 Document #: 4-2 Filed: 02/14/25 Page 1 of 7 PageID #:37
                                                                                                                                   JOB: 6895545
                                                                                                     CLIENT: Stagnaro, Saba & Patterson, Co., L.P.A.


AFFIDAVIT OF SPECIAL PROCESS SERVER

CASE: 1 :21-cv-00238

COURT:      United States District Court

PLAINTIFF / PETITIONER: PHILIP R. McHUGH

DEFENDANT / RESPONDENT: FIFTH THIRD BANCORP, et al.



I, William Carlson [License 115-002378], being duly sworn on oath state that I am over 18 years of age and not a party to this suit and that I am
registered employee of a Illinois Private Detective Agency "Carlson Investigations, Inc. [License 117-001360]", licensed by the Illinois Department
of Financial and Professional Regulation and therefore authorized, pursuant to the provisions of Chapter 735 ILCS, Code of Civil Procedure, Section
5/2-202, Illinois Compiled Statutes, to serve process in the above cause.

Further, I William Carlson effected service on RHR International, LLP. in the following manner listed below.

CORPORATE SERVICE effected on Thursday March 31, 2022, 1:49 pm By leaving a copy of the Subpoena to Produce Documents, Information, or
Objects or to Permit Inspection of Premises in a Civil Action with Exhibit A with Intake Specialist: Dionsia Anderson who was authorized to
accept service on behalf of C T Corporation Systems ( Statutory Agent) of RHR International, LLP. Service was effected at 208 S. LaSalle St #814,
Chicago,lL 60604.

Dionsia Anderson is described as follows:            Female                   30's                African American
                                                     Gender                   Age                      Ethnicity



Under penalties of perjury as provided by law pursuant to section 1-109 of the Code of Civil Procedure, the undersigned certifies that the
statements are true and correct, except as to matters therein stated to be on information and belief and such matters the undersigned certifies as
aforesaid that he/she verily believes same to be true.




~                          _____________
William Carlson [License 115-002378]
                                       A_pr_il_1_'_20_2_2_______
                                              Date
                                                                             Subscribed & sworn to before me by the affiant who is personally known to me.




                                                                                                           EMILY C ROMANO
                                                                                                           Official Seal
                                                                                                   Notary Public· State of Illinois
                                                                                                My Commission Expires Oct 27, 2022




 [ Agency lief! 117-001360 ]                          1.555 ShermOIl Ava. Suiie 306 Evanston, It 60201                            l' 847.491 9182


                                                                                                                              Exhibit 1
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